   Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                                MDL No. 2592
PRODUCTS LIABILITY LITIGATION                               SECTION L


THIS DOCUMENT RELATES TO:                                   JUDGE ELDON E. FALLON

Joseph J. Boudreaux, Jr., et al. v. Janssen et al.          MAGISTRATE NORTH
Case No. 2:14-cv-02720



 DEFENDANTS’ JOINT MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE OR
    ARGUMENT THAT THE XARELTO LABEL SHOULD HAVE INCLUDED
 INFORMATION ABOUT THE INRATIO DEVICE RECALL USED IN ROCKET AF
OR THAT IS INCONSISTENT WITH FDA’S SEPTEMBER 2016 REANALYSIS THAT
      THE RECALL DID NOT IMPACT THE RESULTS OF ROCKET AF

                                       INTRODCUTION

       Defendants hereby move in limine to exclude any and all evidence and argument (1) that

Defendants “defrauded the FDA,” (2) that Defendants should have included information in the

Xarelto® label about the recall of the INRatio device used in the clinical trial ROCKET AF or

reported the recall earlier, or (3) that is inconsistent with FDA’s extensive and comprehensive

review of the impact of the recall on ROCKET AF, issued in September 2016 and entitled

“Impact of use of the INRatio® device in ROCKET AF.” Center for Drug Evaluation and

Research, NDA 202439–Rivaroxaban (Xarelto):          Impact of use of the INRatio® device in

ROCKET AF, September 26, 2016, (“FDA Reanalysis”) (Ex. A).                 In its analysis, FDA

concluded:

       [T]he conclusion we made in 2011 that the benefits of rivaroxaban in patients
       with non-valvular atrial fibrillation outweigh its risks should not be changed.

       ....
    Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 2 of 8




        [N]o changes in rivaroxaban labeling to reflect the impact of use of the INRatio
        device in ROCKET are warranted. No other major regulatory action should be
        taken with respect to rivaroxaban.

Id. at 1.

        Any attempt to argue otherwise or to introduce contrary evidence is irrelevant because

FDA has already considered the very same issue, and any claim based thereon or on a theory of

“fraud on the FDA” is preempted as a matter of federal law. Argument or evidence second-

guessing FDA’s analysis about the INRatio recall is substantially outweighed by the risk of

undue prejudice and the substantial likelihood that this evidence and argument would mislead the

jury, cause confusion, and result in an unnecessary waste of time.

                         RELEVANT FACTS AND BACKGROUND

        On November 4, 2011, FDA gave final approval for use of Xarelto® in a 20 mg once-

daily dose (15 mg for those with impaired renal function) in patients with non-valvular atrial

fibrillation (“AFib”) to reduce the risk of stroke and systemic embolism.        Xarelto Label,

Approved November 4, 2011 (Ex. B); FDA Reanalysis at 1, 5. The primary clinical study that

was submitted to FDA in connection with the New Drug Application for the atrial fibrillation

indication was ROCKET AF, “a randomized, double-blind, event-driven, confirmatory trial of

rivaroxaban vs. dose-adjusted warfarin.” FDA Reanalysis, at 5; see, e.g., Boudreaux Compl.

¶ 77 (“Approval of Xarelto for reducing the risk of stroke and systemic embolism in patients

with non-valvular atrial fibrillation in the U.S. was based on a clinical trial known as [ROCKET

AF].”). ROCKET AF was extensively reviewed by FDA prior to Xarelto’s approval and, as

explained below, was more recently the subject of a comprehensive post-approval review in

2016.




                                                2
    Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 3 of 8




          In September 2015, years after Xarelto was approved for AFib patients and subsequent to

Mr. Bordereaux’s alleged Xarelto use and injuries,1 Janssen Research and Development, LLC

(“JRD”) learned that Alere had instituted a Class 1 recall of the INRatio devices. September 29,

2015 Letter from JRD to FDA, XARELTO_JANSSEN_16378492, at 3 (Ex. C). The recall

notice stated that “[i]n certain cases,” the device “may provide an INR result that is clinically

significantly lower than a result obtained using a reference INR system (laboratory method).”

FDA Reanalysis, at 13. Upon learning of the recall, JRD advised FDA that devices similar to

those used in ROCKET AF had been recalled. September 29, 2015 Letter from JRD to FDA, at

3. FDA then “independently performed a variety of analyses intended to characterize the impact

of use of the INRatio device on the safety and efficacy results of ROCKET.” FDA Reanalysis,

at 1.

          On September 26, 2016, FDA issued a comprehensive analysis entitled “ROCKET AF

Reanalysis Review,” which reaffirmed ROCKET AF’s findings, Xarelto’s positive benefit-risk

profile, and the adequacy of the product labeling. See Ex. A.

          Shortly after publication of its official report, FDA posted a public statement on its

official website stating:

                 The Agency has determined that the effects on strokes or bleeding,
                 including bleeding in the head were minimal. The FDA concludes
                 that Xarelto is a safe and effective alternative to warfarin in
                 patients with atrial fibrillation.

October 11, 2016 FDA Public Statement, “FDA analyses conclude that Xarelto clinical trial

results     were      not     affected      by      faulty     monitoring        device,”      available        at

http://www.fda.gov/Drugs/DrugSafety/ucm524678.htm (Ex. D) (emphasis added).



1
 Mr. Boudreaux alleges he was injured on February 3, 2014, following his Xarelto use from January to February
2014. Boudreaux Compl. ¶ 14.


                                                       3
     Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 4 of 8




                                          ARGUMENT

I.     Evidence or argument that Defendants should have included information about the
       the INRatio device recall in the label or that is inconsistent with FDA’s analysis is
       not relevant to any issue the jury will decide.

       Any evidence or argument that Defendants committed “fraud on the FDA,” should have

reported the recall earlier, or should have revised the Xarelto label to include information about

the INRatio device recall—including but not limited to the INRatio device’s purported effect on

ROCKET AF—is irrelevant because FDA expressly concluded in September 2016 that the recall

did not impact ROCKET AF, that a label change was not warranted, and that Xarelto’s risk-

benefit profile remained the same.

       Here, where evidence is offered to “explore and challenge the administrative decision-

making process of [FDA],” it is irrelevant. Bouchard v. Am. Home Prods. Corp., 213 F. Supp.

2d 802, 812 (N.D. Ohio 2002) (citing Kemp v. Medtronic, Inc., 231 F.3d 216, 238 (6th Cir.

2000)); Cytori Therapeutics, Inc. v. FDA, 715 F.3d 922, 927 (D.C. Cir. 2013) (refusing to

overturn FDA finding that medical device was “not substantially similar under § 510(k) because

“[a] court is ill-equipped to second-guess that kind of agency scientific judgment”).

       Under Rule 403’s relevancy analysis, because it is not the role of the jury to second-guess

a finding already made by FDA on the very same issues that are the subject of the claims alleged,

the evidence is irrelevant, and therefore inadmissible. As set forth in Defendants’ Motion for

Summary Judgment Based on Labeling Preemption, any claim that the label should have

reflected the INRatio device recall—before or after September 2016—is preempted as a matter

of law. Any argument or evidence that contradicts a finding of FDA has no tendency to make a

fact that is of consequence to the determination of this action more or less probable than without




                                                 4
      Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 5 of 8




the evidence. Fed. R. Evid. 401; McGonigal v. Gearhart Indus., Inc., 851 F.2d 774, 778 (5th

Cir. 1988); Kennedy v. Magnolia Marin Transp. Co., 189 F. Supp. 3d 610, 619 (E.D. La. 2016).

        Similarly, any assertion that Defendants failed to timely report the recall to FDA under

federal regulations is irrelevant. The Supreme Court’s decision in Buckman Co. v. Plaintiffs’

Legal Comm., 531 U.S. 341 (2001) “informs the relevance analysis” and confirms that state tort

law claims that the defendants failed to disclose information to FDA (i.e., “fraud on the FDA”) is

preempted as a matter of law, and therefore is irrelevant to any issue the jury may decide. In re

Trasylol Prods. Liab. Litig., 763 F. Supp. 2d 1312, 1329 (S.D. Fla. 2010) (“The Court must

decide whether testimony or evidence that [the defendant] failed to adequately or timely provide

information to the FDA is relevant to Plaintiff’s state-law claims rather than to a fraud-on-the-

FDA claim that would be preempted by Buckman.”).

        Accordingly, evidence or argument that Defendants “defrauded FDA,” should have

reported the recall earlier, or included information about the recall in the label is irrelevant to

Plaintiffs’ state-law tort claims. Because FDA has already concluded that the INRatio device did

not impact the results of ROCKET AF, any evidence to the contrary also is irrelevant and should

be excluded.

II.     Any perceived probative value to an argument regarding the INRatio device recall
        or any evidence or argument that is inconsistent with FDA’s findings is substantially
        outweighed by the probability that it will cause undue prejudice, confuse issues,
        mislead the jury and waste time.

        Any evidence or argument alleging “fraud on the FDA” or that is inconsistent with

FDA’s Reanalysis also should be excluded because any perceived “probative value is

substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the

jury, [and causing] undue delay, wasting of time, or needlessly presenting . . . cumulative

evidence.” Fed. R. Evid. 403; Curtis v. M&S Petroleum, Inc., 174 F.3d 661, 672–73 (5th Cir.



                                                 5
   Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 6 of 8




1999) (excluding evidence of reports from state regulatory agency as cumulative and unduly

prejudicial). Trial courts are given broad discretion in balancing the probative value against the

risks of unfair prejudice. McGonigal, 851 F.2d at 778. “‘Unfair prejudice’ within this context

means an undue tendency to suggest a decision on an improper basis, commonly, though not

necessarily, an emotional one.” United States v. Cook, 557 F.2d 1149, 1154 (5th Cir. 1977)

(citing to Fed. R. Evid. 403 Advisory Committee’s Notes).

       Argument or evidence contrary to FDA’s findings would present a substantial risk of

unfair prejudice to Defendants and confusion of the issues by misleading the jury into believing

that Defendants acted improperly, when FDA concluded otherwise. Such argument or evidence

also would mislead the jury because jurors may be led to believe that FDA’s decisions are not

controlling and that Janssen should have undertaken a label change or some other act when FDA

has expressly concluded that one was not warranted, and reaffirmed the risk-benefit profile for

Xarelto.

                                        CONCLUSION

       For the forgoing reasons, Defendants’ Motion in Limine should be granted and any

evidence that the INRatio device recall should have been included in the label or disclosed to the

FDA earlier should be excluded.

Respectfully submitted,

DRINKER BIDDLE & REATH LLP                      ARNOLD & PORTER KAYE SCHOLER LLP
By: /s/ Susan M. Sharko                         By: /s/ William Hoffman
Susan M. Sharko                                 William Hoffman
Drinker Biddle & Reath LLP                      ARNOLD & PORTER KAYE SCHOLER LLP
600 Campus Drive                                601 Massachusetts Ave., NW
Florham Park, NJ 07932-1047                     Washington, D.C. 20001
Telephone: (973) 549-7000                       Telephone: (202) 942-5000
susan.sharko@dbr.com                            william.hoffman@apks.com




                                                6
   Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 7 of 8




Rodney M. Hudson                            Andrew K. Solow
DRINKER BIDDLE & REATH LLP                  Steven Glickstein
50 Fremont Street, 20th Floor               ARNOLD & PORTER KAYE SCHOLER LLP
San Francisco, CA 94105-2235                250 West 55th Street
Telephone: (415) 591-7500                   New York, New York 10019-9710
Rodney.hudson@dbr.com                       Telephone: (212) 836-8485
                                            andrew.solow@apks.com
Chanda A. Miller
                                            steven.glickstein@apks.com
Drinker Biddle & Reath LLP
One Logan Square, Suite 2000
Philadelphia, PA 19103-6996
                                            BRADLEY ARANT BOULT CUMMINGS LLP
Telephone: (215) 988-2500
Chanda.Miller@dbr.com                       By: /s/ Kevin C. Newsom
                                            Kevin C. Newsom
                                            Lindsey C Boney IV
IRWIN FRITCHIE URQUHART & MOORE LLC         BRADLEY ARANT BOULT CUMMINGS LLP
                                            One Federal Place, 1819 Fifth Avenue North
By: /s/ James B. Irwin
                                            Birmingham, AL 35203-2119
James B. Irwin
                                            Telephone: (205) 521-8803
Kim E. Moore
                                            knewsom@bradley.com
Irwin Fritchie Urquhart & Moore LLC
400 Poydras Street, Suite 2700
New Orleans, LA 70130
                                            CHAFFE MCCALL L.L.P.
Telephone: (504) 310-2100
jirwin@irwinllc.com                         By: /s/ John F. Olinde
                                            John F. Olinde
                                            Chaffe McCall L.L.P.
Attorneys for Defendants Janssen            1100 Poydras Street, Suite 2300
Pharmaceuticals, Inc., Janssen Research &   New Orleans, LA 70163
Development, LLC, and Janssen Ortho LLC,    Telephone: (504) 585-7241
and Johnson & Johnson                       olinde@chaffe.com


                                            Attorneys for Bayer HealthCare
                                            Pharmaceuticals Inc. and Bayer Pharma AG




                                            7
    Case 2:14-md-02592-EEF-MBN Document 5940-1 Filed 03/29/17 Page 8 of 8




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 29, 2017, the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent
to Liaison Counsel for Plaintiffs and Defendants by operation of the court’s electronic filing
system and served on all other plaintiff counsel via MDL Centrality, which will send notice of
electronic filing in accordance with the procedures established in MDL 2592 pursuant to Pre-Trial
Order No. 17.
                                               /s/ James B. Irwin
                                               James B. Irwin




00403917
